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                            United States District Court
                                      for the
                            Southern District of Florida

  Lucienne Bauduy, Plaintiff,            )
                                         )
  v.                                     )
                                         ) Civil Action No. 19-60240-Civ-Scola
  Liberty Mutual Insurance               )
  Company, Defendant.                    )
                                         )

                              Order Remanding Case
        Federal courts are obligated to conduct a preliminary examination of the
 record to determine that jurisdiction exists. Kelly v. Harris, 331 F.3d 817, 819
 (11th Cir. 2003). Upon review of Defendant Liberty Mutual Insurance Company’s
 notice of removal and supporting documents, the Court finds that it lacks
 jurisdiction to hear this case because the Defendant has failed to establish that
 the amount-in-controversy requirement is met.
        “The existence of federal jurisdiction is tested at the time of removal,”
 Adventure Outdoors, Inc. v. Bloomberg, 552 F.3d 1290, 1294–95 (11th Cir. 2008),
 and “[t]he burden of establishing subject matter jurisdiction falls on the party
 invoking removal.” Univ. of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 411–12
 (11th Cir. 1999). “Indeed, all doubts about jurisdiction should be resolved in
 favor of remand to state court.” Id. at 411; see also Russell Corp. v. Am. Home
 Assur. Co., 264 F.3d 1040, 1050 (11th Cir. 2001) (“[T]here is a presumption
 against the exercise of federal jurisdiction, such that all uncertainties as to
 removal jurisdiction are to be resolved in favor of remand.”).
        A civil action may be removed from state court to federal district court if
 the action is within the original jurisdiction of the federal court. 28 U.S.C.
 § 1441(a). Original jurisdiction exists when a civil action raises a federal
 question, or where the action is between citizens of different states and the
 amount in controversy exceeds $75,000. See 28 U.S.C. §§ 1331, 1332.
        The Defendant timely removed this insurance-coverage action, claiming
 that the Court has diversity jurisdiction pursuant 28 U.S.C. § 1332. (Notice, ECF
 No. 1 at ¶ 5.) In support, the Defendant asserts the parties’ diverse citizenships
 and that the amount-in-controversy requirement is met even though the
 complaint only states that the Plaintiff’s claim is worth more than $15,000,
 exclusive of attorneys’ fees, costs, and interest. (See Compl., ECF No. 1-2 at ¶ 1.)
 The Defendant argues that the amount in controversy exceeds $75,000 based on
 the Plaintiff’s submitted damage estimates, which total $62,973.05, and the
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 reasonable attorneys’ fees the Plaintiff could recover pursuant to Fla. Stat.
 § 627.428. The Defendant argues that the Plaintiff’s attorneys’ fees will likely
 exceed $23,020, not including the time necessary to prepare for or attend trial.
 (Id. at ¶ 14.) The Defendant cites to the declaration of Attorney Matthew J.
 Lavisky in support of its attorneys’ fees calculation. (Aff., ECF No. 1-5.)
        Upon review of the record and relevant legal authorities, the Court finds
 that the amount-in-controversy requirement has not been established. Without
 questioning the estimates amount totaling $62, 973.05, the Court finds that the
 Defendant has not established that the Plaintiff’s counsel has reasonably
 incurred the necessary sum in attorneys’ fees at the time of removal.
        “When a statute authorizes the recovery of attorney’s fees, a reasonable
 amount of those fees is included in the amount of controversy.” Morrison v.
 Allstate Indem. Co., 228 F.3d 1255, 1265 (11th Cir. 2000). Florida Statute
 § 627.428 unambiguously allows an insured or beneficiary who prevails in an
 action against an insurer for benefits to recover attorneys’ fees. See id. This Court
 recently joined the district courts in this Circuit that hold that the relevant
 amount of attorneys’ fees for jurisdictional purposes in a removal case is the
 amount of fees that have been incurred up to the time of removal. See Greene v.
 Columbian Life Ins. Co., No. 18-21819-RNS, ECF No. 12.
        The record does not reflect the amount of fees the Plaintiff’s counsel has
 incurred up to the time of removal. However, Attorney Lavisky states in his
 affidavit that $5,500 represents the amount Plaintiff’s counsel would likely settle
 for at this point and would represent the Plaintiff’s attorney’s claim “for the work
 done to date.” (Aff., ECF No. 1-5 at ¶¶ 11, 13.) This amount plus the estimates
 amount totals $68,473.05—which is below the $75,000 threshold.
        Even if the Court were to ignore the $5,500 amount provided by the
 Defendant and the Court were to only consider the “reasonable rate” of $400 per
 hour provided by Attorney Lavisky for the Plaintiff’s counsel’s work on this
 matter, the Court would have to assume that the Plaintiff’s counsel worked over
 30 hours on this matter before the time of removal to reach the amount-in-
 controversy amount. Based on the filings submitted, the Court cannot
 reasonably conclude that the Plaintiff’s counsel spent more than 30 hours
 drafting those filings.
        Accordingly, the Defendant failed to establish the necessary amount in
 controversy to remain in federal court. The Court therefore remands this case
 to the Circuit Court of the Seventeenth Judicial Circuit of Florida, in and for
 Broward County. All pending motions are denied as moot. The Clerk is
 instructed to close this case and take all necessary steps to ensure prompt
 remand and transfer of this file. All pending motions, if any, are denied as
 moot.
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       Done and ordered in chambers in Miami, Florida, on February 4, 2019.



                                          Robert N. Scola, Jr.
                                          United States District Judge
